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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MINNESOTA

Scott Lundberg,                                      Court File No. 19-cv-2112 (JNE/LIB)
                                     Plaintiff,
         vs.                                              STIPULATED MOTION FOR
                                                       APPROVAL OF SETTLEMENT AND
Sid Harvey Industries, Inc.,
                                                         DISMISSAL OF CLAIMS WITH
                                    Defendant.                  PREJUDICE



         Plaintiff Scott Lundberg and Defendant Sid Harvey Industries, Inc., respectfully move this

Court for an Order approving settlement and dismissing all claims with prejudice. This Motion is

based upon 29 U.S.C. § 216, Barbee v. Big River Steel, LLC, 927 F.3d 1024 (8th Cir. 2019), and

upon the supporting documents filed and served in accordance with Local Rules, and upon the

files, records and proceedings herein.

Date: May 1, 2020                                  Date: May 1, 2020

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